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                           UNITED STATES DISTRICT COURT

                              DISTRICT OF MINNESOTA




Luminara Worldwide, LLC,                      Case No. 14-cv-03103 (SRN/FLN)

              Plaintiff,

v.

Liown Electronics Co. Ltd. et al.,

              Defendants.
                                                MEMORANDUM OPINION
                                                    AND ORDER
Shenzhen Liown Electronics Co. Ltd. et al.,

              Counterclaim Plaintiffs,

v.

Luminara Worldwide, LLC, et al.,

              Counterclaim Defendants.


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Kerbaugh, Steven M. Pincus, Anthony Ostlund Baer & Louwagie P.A., 90 South Seventh
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Irvine, California 92614, and Sean P. DeBruine, Kilpatrick Townsend & Stockton LLP,
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Defendants.

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SUSAN RICHARD NELSON, United States District Judge

I.    INTRODUCTION

      This matter comes before the Court on the parties’ 1 cross-objections to Magistrate

Judge Franklin L. Noel’s October 5, 2016 order [Doc. No. 634] (“October 5 Order”)

granting, in relevant part, Defendants’ motion to compel compliance with an earlier order

of the same judge, issued May 18, 2016 [Doc. No. 556] (“May 18 Order”). Luminara

objects to the October 5 Order on the ground that its interpretation of the scope of the

waiver of attorney-client privilege triggered by the testimony of a non-reporting expert

witness is overly broad. (See Pl.’s Obj. [Doc. No. 658] at 3.) In contrast, Defendants

agree with Judge Noel’s scope-of-waiver ruling, but object to his decision to grant

Luminara an additional twenty-one day period in which to decide whether to accept

disclosure of privileged communications or withdraw its non-reporting expert and

maintain the privilege. (See Defs.’ Obj. [Doc. No. 659] at 2.) After careful review of the

parties’ briefing, relevant case law, and Magistrate Judge Noel’s rulings, the Court

overrules both objections and affirms the October 5, 2016 Order, subject to such

modification as is described below.

II.   BACKGROUND

      At the heart of this dispute is Luminara’s decision to designate Doug Patton as a

non-reporting, testifying expert witness pursuant to Rule 26(a)(2)(C) of the Federal Rules
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   For convenience, Plaintiff and all Counterclaim Defendants in this matter will be
referred to collectively as “Luminara.” All Defendants and Counterclaim Plaintiffs will
likewise be referred to collectively as “Defendants.”
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of Civil Procedure. (See Reid Decl. [Doc. No. 439], Ex. F.) Patton is a named inventor

on five of the asserted patents underlying this action, and is one of the founding members

of Luminara’s predecessor-in-interest, Candella, LLC. (Pl.’s Obj. at 4.) He is also a paid

consultant to Luminara, providing expertise ranging from design and development of new

products to development of patent strategy. (Id.)

       Luminara first identified Patton as an individual “likely to have discoverable

information” on December 31, 2014, in its Rule 26(a)(1)(A) disclosure. (See Reid Decl.,

Ex. C at 3.) Defendants responded by serving Patton with a document subpoena on

January 23, 2015, and deposing Patton as a fact witness on October 29, 2015. (Defs.’

Obj. at 3.) At the time, Luminara objected to every one of Defendants’ document

requests on privilege grounds, and repeatedly instructed Patton not to answer certain

questions during his deposition. (Id.; Reid Decl., Ex. D.)

       On February 1, 2016, Luminara filed its Rule 26(a)(2)(C) disclosure, identifying

Patton as a proposed non-reporting expert witness. (Reid Decl., Ex. F at 3.) Luminara

indicated that Patton:

       may provide testimony based on factual knowledge as well as testimony
       based on knowledge, skill, experience, training or education. Mr. Patton is
       expected to provide testimony at trial on the issues that he addressed at his
       deposition [and in] his declaration, including that Liown’s moving flame
       candles infringe the licensed Disney patents, that embodiments described in
       Liown’s ’986 and ’137 patents if made or sold in the U.S. would infringe
       the license[d] Disney patents, that the [sic] differences between the
       inventions claimed in the Disney patents-in-suit and flameless candles
       described in Disney’s earlier-filed ’455 patent, and Disney’s and Candella’s
       development of a flameless candle before Mike Li alleges he developed a
       flameless candle.



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(Id.) (internal citation omitted). On the basis of this disclosure, Defendants moved the

magistrate judge to require Patton to submit an expert report pursuant to Rule

26(a)(2)(B). (See generally Def.’s Mem. [Doc. No. 374].)         The court rejected this

request, finding that because Patton was not specially retained to provide expert

testimony, but rather would testify on the basis of percipient knowledge, he was not

subject to Rule 26(a)(2)(B). (February 25 Order [Doc. No. 388] at 6.)

       Defendants then moved for an order overruling Patton’s privilege objections to his

earlier discovery responses.    (See Mot. to Strike [Doc. No. 436].)       According to

Defendants, by putting Patton forward as a non-reporting expert witness under Rule

26(a)(2)(C), Luminara waived the attorney-client privilege with regard to materials and

communications provided to Patton in connection with his testimony. (See Defs.’ Mem.

in Supp. of Mot. to Strike [Doc. No. 438] at 11-14.) In contrast, Luminara argued that

the 2010 amendments to the Federal Rules of Civil Procedure (“the 2010

amendments”)—which created the distinction between reporting and non-reporting

expert witnesses—contemplated that the attorney-client privilege would be waived only

in limited circumstances not existing in the present case. (See Pl.’s Mem in Opp. to Mot.

to Strike [Doc. No. 495] at 14-15.)

       Ruling on the matter, Magistrate Judge Noel agreed with Defendants. (See May

18 Order at 10-12.) Looking first to the state of the law regarding expert testimony and

waiver of privilege prior to the 2010 amendments, the magistrate judge noted that “courts

generally held that all documents and information disclosed to any testifying expert in

connection with his testimony, including any communications with attorneys, were

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discoverable by the opposing party.” 2 (Id. at 10 (citing In re Pioneer Hi-Bred Int’l, Inc.,

238 F.3d 1370, 1375 (Fed. Cir. 2001); Johnson v. Gmeinder, 191 F.R.D. 638 (D. Kan.

2000)).)

       Magistrate Judge Noel then turned to consider whether the 2010 amendments had

changed this rule. He first noted that while Rule 26(b)(4)(C) provides explicit protection

for some communications between a party’s attorney and reporting experts, 3 it is silent as

to whether communications with a non-reporting expert are similarly protected. This

omission—according to the magistrate judge—was not unintentional, however. (May 18

Order at 10-11.) Looking to the advisory committee notes for the 2010 amendments, he

determined ultimately that they “did not change any existing precedent regarding

privilege waiver of non-reporting experts that existed prior [to 2010].” (Id. at 11.)

Because there was no dispute between the parties that prior to 2010 all documents and

information considered by a testifying expert were subject to discovery, Magistrate Judge

Noel concluded that “any documents and information considered by . . . Patton in

connection with his expert testimony, including communications with attorneys are

discoverable.” (Id. at 11.) The magistrate judge then gave Luminara a choice: either it

must produce all such documents within twenty-one days, or, if it preferred to maintain



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  Magistrate Judge Noel also correctly noted that in their briefing the parties explicitly
agreed with this statement of the law as it stood prior to the 2010 amendments. (May 18
Order at 10 (citing Doc. Nos. 438, 495).)
3
   Fed. R. Civ. P. 26(b)(4)(C) provides that “Rules 26(b)(3)(A) and (B) protect
communications between the party’s attorney and any witness required to provide a
report under Rule 26(a)(2)(B), regardless of the form of the communications, [except in
three enumerated circumstances].”
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its privilege, withdraw Patton’s designation as a non-reporting expert witness. (Id. at 11-

12.)

         Ultimately, Luminara chose the former option, notifying Defendants on June 8,

2016 that it would proceed with Patton as a non-reporting expert witness. (See Pl.’s

Mem. in Supp. of Mot. for Protective Order [Doc. No. 621] at 2.) Pursuant to the May 18

Order, Luminara produced an additional nineteen emails, containing fifty-four attached

documents, that it contended comprised the entirety of documents not previously

disclosed that had been considered by Patton in connection with his proposed testimony.

(October 5 Order at 3.) In response, Defendants quickly moved to compel compliance

with the magistrate judge’s May 18 Order, arguing that Luminara’s privilege log

identified hundreds of documents and other communications considered by Patton but not

disclosed, in violation of the order. (See Mot. to Compel [Doc. No. 610]; Defs.’ Mem. in

Supp. of Mot. to Compel [Doc. No. 611] at 2.) Luminara responded in its own right with

a motion for a protective order limiting the scope of Defendants’ discovery requests.

(See Mot. for Protective Order [Doc. No. 619].)

         At bottom, and as Magistrate Judge Noel recognized, the dispute between the

parties centered on the proper interpretation of the word “considered” in the May 18

Order.    Defendants contended that the term should be interpreted broadly, so as to

encompass all documents and information that Patton “generated, saw, read, reviewed,

and/or reflected upon,” whether he ultimately relied upon them in forming his opinions or

not. (Defs.’ Mem. in Supp. of Mot. to Compel at 17-18 (quoting United States v. Sierra

Pac. Indus., No. S-09-2445 (KJM/EFB), 2011 WL 2119078, at *11 (E.D. Cal. May 26,

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2011).     In contrast, Luminara argued that the term should be interpreted narrowly to

mean essentially only those documents actually used by the expert. (See, e.g., Pl.’s Mem.

in Supp. of Mot. for Protective Order [Doc. No. 621] at 30.)

         Once again, the court agreed with Defendants, concluding that “the ambit of the

term ‘considered,’ in the context of Rule 26(a)(2)(C) discovery, . . . encompasses material

not only used, but generated, seen, reviewed, and/or reflected upon.” (October 5 Order at

5 (citing PacifiCorp v. Nw. Pipeline GP, 879 F. Supp. 2d 1171, 1213 (D. Or. 2012);

Sierra Pac., 2011 WL 2119078, at *11).) Rather than immediately require production of

the withheld documents, however, Magistrate Judge Noel again provided Luminara with

twenty-one days in which to elect to withdraw Patton’s designation as a non-reporting

expert witness. (Id.)

         Both parties filed timely objections to the October 5 Order. Luminara argues that

the magistrate judge misapplied prior precedent in a way that improperly extends the

scope of the waiver of attorney-client privilege bound up in the designation of Patton as a

non-reporting witness so as to effectively encompass any document or communication

ever seen by Patton “in connection with his work for Luminara.” (Pl.’s Obj. at 12.) Such

a reading, it contends, goes well beyond the limited waiver envisioned by the framers of

the 2010 amendments, and beyond the bounds set by prior precedent. (Id. at 12-14.) In

contrast, Defendants “agree completely” with Magistrate Judge Noel’s interpretation of

the scope of waiver, but argue that it was error to grant Luminara yet another twenty-one

day period in which to reconsider its election of Patton as a non-reporting expert witness.

(Defs.’ Obj. at 2.) Defendants accordingly ask this Court to affirm the October 5 Order,

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but require Luminara to produce the withheld documents and communications

immediately. (Id.)

III.   DISCUSSION

       A.     Standard of Review

       “The standard of review applicable to an appeal of a magistrate judge’s order on a

nondispositive issue is extremely deferential.”    Mountain Marketing Group, LLC v.

Heimerl & Lammers, LLC, No. 14-cv-846 (SRN/BRT), 2015 WL 1954393, at *2 (D.

Minn. Apr. 29, 2015) (quoting Reko v. Creative Promotions, Inc., 70 F. Supp. 2d 1005,

1007 (D. Minn. 1999)). The district court must generally affirm the order unless it is

“clearly erroneous or contrary to law.” Fed. R. Civ. P. 72(a); see also 28 U.S.C. §

636(b)(1)(A); D. Minn. LR 72.2(a)(3). A finding is clearly erroneous when, although

there is evidence to support it, “the reviewing court on the entire record is left with the

definite and firm conviction that a mistake has been committed.” Chase v. Comm’r of

Internal Revenue, 926 F.2d 737, 740 (8th Cir. 1991) (quoting United States v. U.S.

Gypsum Co., 333 U.S. 364, 395 (1948)). Further, magistrate judges “are afforded wide

discretion in handling discovery matters and are ‘free to use and control pretrial

procedure in furtherance of the orderly administration of justice.’” Favors v. Hoover,

No. 13-cv-428 (JRT/LIB), 2013 WL 6511851, at *3 n.3 (D. Minn. Dec. 12, 2013)

(quoting Cook v. Kartridg Pak Co., 840 F.2d 602, 604 (8th Cir. 1988)). Where such

decisions suggest neither misapplication of law nor erroneous findings of fact, they will

be overturned only where the Court finds an abuse of discretion. See Ahlberg v. Chrysler

Corp., 481 F.3d 630, 637-38 (8th Cir. 2007); Smith v. Smith, 154 F.R.D. 661, 665 (N.D.

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Tex. 1994) (“The abuse of discretion standard applies to that vast area of choice that

remains to the magistrate judge who has properly applied the law to fact findings that are

not clearly erroneous.”) (internal quotation and punctuation omitted).

       B.     Luminara’s Objection

       Analyzing the merit of Luminara’s objection requires pausing briefly to consider

what issues are properly before the Court, and what issues are not. Importantly, while

Magistrate Judge Noel’s May 18 and October 5 orders are intertwined in many ways,

they ultimately settled different questions. In the May 18 Order, the magistrate judge

considered the primary issue of whether the 2010 amendments to Rule 26, which first

created the distinct categories of reporting and non-reporting expert witnesses, changed

the pre-existing law regarding waiver of privilege as to communications involving

experts. (See May 18 Order at 10.) While the court concluded that the amendments had

established new protections for communications involving reporting expert witnesses, it

also found—convincingly— that those privileges were not intended to extend to non-

reporting expert witnesses. (See id. at 11.) On the basis of the advisory committee notes

to the 2010 amendments, as well as a particularly scholarly and well-considered opinion

of the Eastern District of California analyzing those notes, Magistrate Judge Noel

ultimately determined that the 2010 amendments to Rule 26 did not change the law of

waiver of privilege existing prior to the amendments, at least as applied to non-reporting

expert witnesses. (Id.) See Sierra Pac., 2011 WL 2119078, at *5-7.

       Pursuant to the Federal Rules of Civil Procedure and the Local Rules of this Court,

Luminara had fourteen days to file objections to the magistrate judge’s order, or waive

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any assignment of error. See Fed. R. Civ. P. 72(a); D. Minn. LR 72.2(a)(1). Although it

ultimately objected to other alleged defects in the May 18 Order, it did not object to the

court’s decision regarding waiver of privilege and non-reporting expert witnesses. (See

Pl.’s Obj. to Orders 555 & 556 [Doc. No 566].) Accordingly, Magistrate Judge Noel’s

conclusion of law in the May 18 Order—that pre-2010 case law on waiver of privilege

continues to govern non-reporting expert witnesses—is not properly before this Court,

and will not be disturbed.

       What is properly before the Court on this motion is the much narrower matter

addressed by Magistrate Judge Noel in the October 5 Order: what scope to give to the

waiver of privilege attached to Patton’s testimony as a non-reporting witness. In light of

the May 18 Order, answering this question requires little more than looking to see

whether the magistrate judge properly applied the law of waiver as it stood prior to 2010.

The Court holds that he did.

       As Magistrate Judge Noel noted in the October 5 Order, the waiver of privilege

attached to Patton’s status as a non-reporting expert extends to any documents and

information he considered in connection with his proposed testimony. (October 5 Order

at 4.) In this jurisdiction, as well as others, courts have clearly and repeatedly recognized

that the term “considered” is to be interpreted broadly in this context. See In re Pioneer,

238 F.3d at 1375; James River Ins. Co. v. Interlachen Propertyowners Ass’n, No. 14-cv-

3434 (ADM/LIB), 2015 WL 9946407, at *6 (D. Minn. Dec. 21, 2015); Sierra Pac., 2011

WL 2119078, at *11. Thus, as the magistrate judge recognized, the scope of waiver is

not limited by subjective questions of whether the expert actually relied on or used the

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documents and information to which he was exposed in crafting his opinion. What

matters is simply that he was exposed to those materials in the first place. See Johnson v.

Gmeinder, 191 F.R.D. 638, 649 (D. Kan. 2000) (rejecting interpretation of “considered”

that would “require the court to explore the expert’s subjective mental processes”); see

also In re Pioneer, 238 F.3d at 1375 (declaring that “documents and information

disclosed to a testifying expert in connection with his testimony are discoverable by the

opposing party, whether or not the expert relies on the documents and information in

preparing his report”) (emphasis added); PacifiCorp, 879 F. Supp. 2d at 1213-1214

(“Non-reporting expert witnesses consider all documents and communications that they

generated, saw, read, reviewed, and/or reflected upon, regardless of whether the

documents ultimately affected their analysis.”) (emphasis added).

       This rule recognizes that part of the purpose of expert discovery is to discover not

just the information that the expert used in reaching his conclusions, but also what

information he ignored or failed to properly incorporate into his analysis. See, e.g.,

Colindres v. Quietflex Mfg., 228 F.R.D. 567 (S.D. Tex. 2005) (observing that

“information considered, but not relied upon, can be of great importance in understanding

and testing the validity of an expert’s opinion”). In light of such considerations, the

magistrate judge was correct to hold that “the ambit of the term ‘considered,’ in the

context of Rule 26(a)(2)(C) discovery, . . . encompasses material not only used, but

generated, seen, reviewed, and/or reflected upon.” (October 5 Order at 5.) That position

was well supported both by pre- and post-2010 case law. See, e.g., PacifiCorp, 879 F.



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Supp. 2d at 1213-1214; Synthes Spine Co., L.P. v. Walden, 232 F.R.D. 460, 464 (E.D. Pa.

2005).

         In the alternative, Luminara asks the Court to grant it leave to re-designate Patton

as a reporting expert pursuant to Rule 26(a)(2)(B). (See Pl.’s Obj. at 15.) Magistrate

Judge Noel carefully considered this same request in his October 5 Order and rejected it,

concluding that Luminara was amply advised in both the February 25 and May 18 orders

of the duties imposed by designating Patton as a non-reporting expert witness. Such

decisions are well within the discretion of the magistrate judge, Favors, 2013 WL

6511851, at *3 n.3, and Luminara has not identified how this decision was an abuse of

that discretion. Identifying no such abuse in its own review, the Court will not disturb

Magistrate Judge Noel’s decision. Moreover, Luminara has had the opportunity for years

to designate Patton as a reporting expert and chose not to do so. Luminara may not at

this point re-designate Patton as a reporting expert witness.

         C.     Defendants’ Objection

         As previously noted, Defendants’ objection to the October 5 Order is limited to the

narrow issue of whether Magistrate Judge Noel erred in granting Luminara an additional

twenty-one days in which to elect either to proceed with Patton as a non-reporting expert

witness and waive privilege over the documents and communications covered by that

order, or withdraw his designation as an expert and maintain its privilege. (See Defs.’

Obj. at 1.) Defendants contend that Luminara has now had multiple opportunities to

make just such an election, and each time it has chosen to proceed with Patton as an

expert witness. (See id. at 4-5.) Although Defendants do not point to any particular

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prejudice they suffer by allowing Luminara time to reconsider its decision, they contend

generally that Luminara has had ample opportunity to consider the consequences of its

decision, and must now bear the burden of an immediate and full waiver of privileged

communications considered by their expert witness. (See id. at 6-7.)

       The Court disagrees with Defendants’ argument that Luminara clearly understood

the extent of the waiver of privilege associated with its decision to designate Patton as a

non-reporting expert, at least prior to the October 5 Order.        While Luminara may

ultimately have chosen an interpretation of the scope of waiver that was—in this Court’s

view—overly narrow, nothing in the record suggests that interpretation was held in bad

faith or was objectively unreasonable. Without such clear evidence of a knowing waiver

of privilege commensurate with the breadth of the October 5 Order, the Court finds that

the magistrate judge did not abuse its discretion in allowing Luminara an additional

opportunity to retract Patton’s designation as a non-reporting expert witness.

       However, because more than twenty-one days have now elapsed since Magistrate

Judge Noel’s order was issued, the Court will modify the period of election available to

Luminara to seven days from the date of this Order. If Luminara wishes to proceed with

Patton as a non-reporting expert witness, it must produce the documents and information

specified in the October 5 Order within that time. Otherwise, if Luminara desires to

maintain its privilege, it must withdraw Patton’s designation under Rule 26(a)(2)(C).

IV.    ORDER

       Based on the foregoing, and all the files, records, and proceedings herein, IT IS

       HEREBY ORDERED that:

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      1.    Plaintiff’s Objections [Doc. No. 658] to the Magistrate Judge’s October 5
            Order [Doc. No. 634] are OVERRULED;

      2.    Plaintiff may NOT re-designate Doug Patton as a Fed. R. Civ. P.
            26(a)(2)(B) reporting expert witness;

      3.    Defendants’ Objections [Doc. No. 659] to the Magistrate Judge’s October 5
            Order [Doc. No. 634] are OVERRULED;

      4.    Plaintiff must within seven days of the date of this Order elect either to
            proceed with Patton as a non-reporting expert witness and produce all
            documents and information specified in the Magistrate Judge’s October 5
            Order [Doc. No. 634], or withdraw Patton’s designation as an expert
            witness and maintain its privilege; and

      5.    Should Luminara elect to withdraw Patton as an expert witness, the Court
            will convene a status conference to address pending motions that rely on
            Patton as an expert (e.g. Doc. Nos. 460, 474, 485, and 501).


Dated: November 15, 2016                      s/Susan Richard Nelson
                                              SUSAN RICHARD NELSON
                                              United States District Judge




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